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         -~~            Fischer Law, P.L.
                          Jason A. Fischer, Esq.
                           Licensed to Practice in Florida and California




                                          April 30, 2019
                                                                               ~ ~ ~- 5 `~ ~~ .
 Via Federal Express(Tracking No. 775100505289)                                                       ...-
Clerk of Court
United States District Court                                                                                  ~':
Central District of California                                                        `;                 c~   ~",.
                                                                                                               C
350 W 1st Street, Suite 4311
                                                                                           t   ,rte
Los Angeles, CA 90012-4565                                                                      `,
       Re:     In re. Traffic F, s.r.o.: DMCA Subpoena                                                ,!
               Commanding Production by NameCheap
               New Miscellaneous Case Filing

 Dear Sir or Madam:

        Title 17 of the United States Code, Section 512(h), specifies that any person
authorized to act on behalf of a copyright holder may request the clerk of any
United States district court to issue a subpoena to an online service provider for
identification of an alleged infringer in accordance with the Digital Millennium
Copyright Act("DMCA").

         This law firm has the privilege of representing Traffic F, s.r.o. (the
"Company"), owner of the copyrights in and to certain website content that have
 been infringed through use of the online services provided by Namecheap, Inc.
("Namecheap"). Enclosed with this letter, you will find a copy of the Company's
 original notice of alleged infringement to Namecheap. Upon information and belief,
 a representative of Namecheap having access to the responsible subscriber's
 identity is located within the jurisdiction of this court.

        I n addition to our notice of infringement, you will also find a proposed
subpoena and the required affidavit concerning use of the information sought.
Pursuant to the DMCA, we respectfully request that you execute the enclosed
subpoena, directing Namecheap's records custodian to disclose the subscriber's
identity, and then use the FedEx prepaid return label provided to return a copy of
the signed subpoena to our offices in Miami, Florida. A check in the amount of
$47.00 to cover the filing fee to open the miscellaneous case is also enclosed.




                    2 South Biscayne Boulevard, Suite 2600     Miami, Florida 33131
                                                                                               0051'7
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Namecheap
April 30, 2019
Page 2 of 2



       Please feel free to contact the undersigned by phone or email should you
require anything more to honor this request. Thank you in advance for your
assistance with this matter.

                                                Si            ,



                                                Jason A. Fischer

Encl.




                  2 South Biscayne Boulevard, Suite 2600   Miami, Florida 33131
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                                                                                   Jason Fischer <jason@fischerlawpl.com>
 ~..   ~I~.


Notice of Copyright Infringement
1 message

Jason Fischer <jason@fischerlawpl.com>                                                              Fri, Apr 26, 2019 at 1:00 PM
To: legal@namecheap.com

  Dear Sir or Madam,

 We are contacting you in your capacity as hosting provider for the website adsvega.com (IP 199.188.200.143) on behalf
 of Traffic F, s.r.o. (the "Company"), owner of all copyrights in certain images currently stored on and published from
 servers under your control. Below are URLs for these images owned by the Company:
         http://www.adsvega.com/images/profiles/mayara-gb.jpg
         http://www.adsvega.com/images/profiles/marion-gb.jpg
         http://www.adsvega.com/images/profiles/helena-gb.jpg
         http://www.adsvega.com/images/profiles/alla-gb.jpg
         http://www.adsvega.com/images/profiles/deborah-gb.jpg
         http://www.adsvega.com/images/profiles/taka-gb.jpg
         http://www.adsvega.com/images/profiles/yatin-gb.jpg
         http://www.adsvega.com/images/profiles/chenghan-gb.jpg
         http://www.adsvega.com/images/profiles/heidi-gb.jpg


 This copyrighted material was captured from the Company's website without permission and has similarly been
 reproduced and published on adsvega.com without permission. Accordingly, we respectfully request that you act
 expeditiously to remove this copyrighted material from public access.

 Please accept this communication and my statement, on behalf of the Company, as copyright owner, that I have a good-
 faith belief that the use of the above-described copyrighted materials is not authorized by the Company, its agent, or the
 law. The information in this notification is accurate, and I swear, under penalty of perjury, that I am authorized to act on
 behalf of the owner of an exclusive right that is infringed. Should you require additional information, please feel free to
 contact me by response to this correspondence or at:
         Jason A. Fischer
         Fischer Law, P.L.
         2 South Biscayne Blvd., Suite 2600
         Miami, Florida 33131
         Tel: 305-306-3995
         Fax: 305-397-2772


 Please reply to me confirming that this material has been removed from public access.

 Thank you for your attention to this matter and your anticipated cooperation.


 Yours very truly,

 /s/Jason A. Fischer

         By typing "/s~' followed by my name above, I hereby adopt that electronic signature as my own, pursuant to 15
         U.S.C. § 7001 (the "ESIGN AcY'), and affirmatively consent to its use as such



 The information contained in this message may be privileged, confidential and/or exempt from disclosure under applicable
 law. The information is intended only for the use of the individual or entity named above. If you are not the intended
 recipient, you are hereby notified that any use, dissemination, distribution or reproduction of any information contained
 herein or attached to this message is strictly prohibited. If you have received this email in error, please immediately notify
 the sender and destroy the original transmission and its attachments in their entirety, whether in electronic or hard copy
 format, without reading them. Thank you.
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                                       AFFIDAVIT

STATE OF FLORIDA
COUNTY OF MIAMI-DADE

        Before me, the undersigned authority, personally appeared Jason A. Fischer, who
is personally known to me, and after being duly sworn, stated:

               My name is Jason A. Fischer.

        2.      On Apri126, 2019, I prepared and submitted a subpoena(the "Subpoena"),
pursuant to 17 U.S.C. § 512(h), to the Clerk of the U.S. District Court for the Central
District of California.

        3.      I do swear under penalty of perjury that the Subpoena sought is to obtain
the identity of an alleged copyright infringer and that such information will only be used
for the purpose of protecting the copyrights of Traffic F, s.r.o.

       4.      I have personal knowledge of all facts set forth in this Affidavit.

       5.      The facts set forth in this Affidavit are true and correct.

       FURTHER AFFIANT SAYETH NAUGHT.




                                                                              ASON A. FISCHER

       SWORN TO AND SUBSCRIBED before me on May 1,2019,by Jason A.Fischer,
who is personally known to me.

                                                     a~.~~p,.,~,               VALERY ACUNA
                                                                 ~•. Nolary Public •State of Florfd~
                                                                         Commission M FF 946526
                                                     "
                                                     ',r         ~'= My Comm. Expires Dec 28, 2019
                                                     ''~°P~;~~~`'~~,, Bonded through Nauonai Notary Assn.


                                                                                          Notary Public

                                              Print Name: \,~ ~ 1 ~ Y U                    ~~..~~~
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